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IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

In re: ) Chapter 11
)
W.R. GRACE & CO., et al., ) Case No. 01-01139 (JF)
) (Jointly Administered)
Debtors. )
AFFIDAVIT OF SERVICE

Maria Kenion, being duly swom according to law, deposes and says that she is
employed by the law firm of Pachulski, Stang, Ziehl, Young, Jones & Weintraub P.C., co-
counsel for the Debtors, in the above-captioned action, and that on the 3 day of October, 2003
she caused a copy of the following document(s) to be served upon the attached service list(s) in
the manner indicated:

SUPPLEMENT TO APPLICATION OF THE DEBOTRS FOR ENTRY OF
AN ORDER PURSUANT TO 11 U.S.C. §§ 327(A) AND 328(A) AND
FED.R.BANKR.P. 2014(A), 2016 AND 5002 AUTHORIZING, BUT NOT
REQUIRING, THE EMPLOYMENT AND RETENTION OF STATE
STREET BANK AND TRUST COMPANY TO ACT AS INVESTMENT
MANAGER AND FIDUCIARY OF THE GRACE STOCK WITHIN THE
GRACE SAVINGS & INVESTMENT PLAN.

Maria Kenion

Sworn to and subscribed before

me this 3" day Risaih tnt Per 2003

_Reaas Public
My ote Expires: a “a o- Ado-oy}

DIANE K. POTTS
NOTARY PUBLIC
STATE OF DELAWARE
My commission expires Feb. 20, 2004

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